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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


SPINE & SPORTS CHIROPRACTIC, INC., )
individually, and as the representatives of a ) Civil Action No.: 2:15-cv-3041 EAS-NMK
class of similarly situation persons,         )
                                              )
       Plaintiffs,                            )
                                              )
v.                                            ) AGREED ENTRY OF DISMISSAL
                                              )
INSIGHT HEALTH CORP., INSIGHT                 )
PROSCAN, LLC and JOHN DOES, 1-10,             )
                                              )
       Defendants.                            )

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Spine & Sports Chiropractic, Inc. and

Defendants, Insight Health Corp. and Insight Proscan, LLC, through their undersigned attorneys,

hereby stipulate to the dismiss of this action with prejudice. Each party to bear its own costs.

Dated: October 23, 2017

                                              Respectfully submitted,


                                              /s/Matthew E. Stubbs
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                                              Insight Proscan, LLC

                                CERTIFICATE OF SERVICE

       I hereby certify that on October 23, 2017, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system which will send notification of such filing to all
attorneys of record.

                                              /s/Matthew E. Stubbs
                                              Matthew E. Stubbs




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